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IN THE UNITED sTATEs DISTRICT coURT i.. D.r;_
FoR THE wEsTERN DISTRICT oF TENNESS%§ AUG
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MARY ANN LAZAR,
Plaintiff,

vs. No. 03-2868 BP

EZPAWN TEI\I|NESSEEl INC.,

Defendant.

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ORDER GRANTING IN PART PLAINTIFF'S MOTION TO COMPEL DISCOVERY
CONCERNING PLAINTIFF'S FIRST SET OF INTERROGATORIES AND HER FIRST
REQUEST FOR PRODUCTION OF DOCUMENTS

 

Before the Court is Plaintiff Mary Ann Lazar's Motion to
Compel Discovery Concerning Plaintiff’s First Set of
lnterrogatories and Her First Request for Production of Documents,
filed June 24, 2005 (dkt #19). Defendant EZPawn Tennessee, Inc.
filed its response on July ll, 2005. For the following reasons,
the motion to compel is GRANTED in part.

A. Interroqatorv No. 2 and Reouest for Production No. 4

Interrogatory No. 2 seeks information related to EZPawn’s
former employee Dederick Marshall and the circumstances of the

termination of his employment.1 Request for Production,No. 4 seeks

 

]Although the discovery requests seek information and
documents related to Derrick Marshall, EZPawn has stated that it
has never had an employee by that name. EZPawn, however,
responded by assuming Lazar was seeking information regarding
their employee named Dederick Marshall. The Court Will make the

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EZPawn's personnel file of Marshall. EZPawn objects to the
production of this information and materials based on relevance and
confidentiality.

Federal Rule of Civil Procedure 26(b) provides that “[p]arties
may obtain discovery regarding any matter, not privileged, that is
relevant to the claim or defense of any party . . . . Relevant
information need not be admissible at the trial if the discovery
appears reasonably calculated to lead to the discovery of
admissible evidence.”2 This Court has previously stated that
“[p]ersonnel records, because of the privacy interests involved,
should not be ordered produced except upon a compelling showing of
relevance.” Miller v. Federal Express, 186 F.R.D. 376, 384 (W.D.
Tenn. 1998). Other than stating that Marshall was defendant's
“store manager witness,” Lazar does not describe in any detail
Marshall’s involvement in the litigation or how his personnel file
would be relevant to a claim or defense. She has merely stated
that information related to Marshall's termination and his
personnel files may provide material to challenge Marshall's
credibility. This is insufficient to meet the burden of relevance
described in Miller. See McCann v. Bav Ship Mgmt. Co., 2000 WL
1838714, No. 00-1430 at *l (E.D. La. Dec. 8, 2000)(unpublished).

Therefore, the Court DENIES Lazar's motion to compel EZPawn to

 

same assumption.

2Discovery in diversity cases are governed by the federal
rules. Hartwiq v. Nat'l Broadcasting Co., 76 F.3d 379, 1996 WL
33252, at *2 (6th Cir. 1996)(unpublished).

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produce Marshall's personnel file. However, even though EZPawn
will not be required to produce Marshall's personnel file, the
specific reasons for his termination may very well be relevant, and
thus the Court GRANTS Lazar’s motion with respect to interrogatory
no. 2. EZPawn shall respond fully to interrogatory no. 2, stating
with particularity the circumstances of his termination, within
eleven (ll) days from the date of this order.
B. Interrogatorv No. 4

Interrogatory No. 4 seeks information related to the pawn
shop's customer who purchased the tennis bracelet at issue in the
case. EZPawn stated that the information is confidential and
privileged, but agreed to provide the information pursuant to a
mutually agreeable protective order. The Court finds the
requirement of a protective order is unnecessary' under these
circumstances. Thus, EZPawn shall respond to Interrogatory No. 4
within eleven (ll) days from the date of this order.
C. Reguest for Production No. 3

Request for Production. No. 3 seeks records that evidence
communications between Shannon Becton3 and EZPawn's corporate
representatives. EZPawn argues that the records are not relevant
and that it does not have such a record. A party cannot be
compelled to produce documents that do not exist. §ee Epling v.

UCB Films, IHC., NO. 98-4226, 2000 WL 1466216, at *17 (D. Kan.

 

3Apparently, Lazar erred again in the name of an EZPawn
employee. Although Lazar refers to Shane Becton in the document
request, it appears that she was referring to Shannon Becton.

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2000)(unpublished). Therefore, this portion of the nwtion is
DENIED.
D. Reouest for Production Nos. 7, 12. 16, 20, and 21

 

Request for Production. Nos. 7, 12, 16, 20, and. 21 seeks
various documents related to EZPawn's acquisition, possession,
sale, and attempt to recover the tennis hracelet, as well as other
transactions between EZPawn and the individual who sold the
bracelet to EZPawn. EZPawn responded to these requests by
referring Lazar to its initial disclosures. It stated that it has
only withheld two documents responsive to these requests, and it
identified each of these documents by name. Although EZPawn's
identification of each document arguably satisfies Rule 26(b){5)'s
requirements, see Sawgrass Sys., Inc. v. BASF Aktiengesellschaft,
50 U.S.P.Q.2d 1687, 1691, 1999 WL 358681 (E.D. Mich. l999), the
Court directs EZPawn to provide plaintiff with a privilege log
within eleven (11) days from the date of this order, that describes
the nature of the documents not produced in a manner that, without
revealing information itself privileged, will enable Lazar to
assess the applicability of the privilege. _§e Fed. R. Civ. P.
26(b)(5). If, after the privilege log is produced, Lazar
challenges the applicability of an asserted privilege, she may file
an appropriate motion at that time.

For the reasons above, Lazar’s Motion to Compel Discovery
Concerning Plaintiff's First Set of Interrogatories and Her First

Request for Production of Documents is GRANTED in part.

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TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

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Date

 

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This notice confirms a copy of the document docketed as number 35 in
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Honorable J. Breen
US DISTRICT COURT

